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                                   Case 2:19-cv-09343-GW-KS Document 323 Filed 05/03/21 Page 1 of 2 PTY  / NO
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                                         1   BOBBIE R. BAILEY, State Bar No. 159663
                                             bbailey@leaderberkon.com
                                         2   OLGA G. PENA, State Bar No. 307927
                                             opena@leaderberkon.com
                                         3   LEADER BERKON COLAO & SILVERSTEIN LLP
                                             550 South Hope Street, Suite 1850
                                         4   Los Angeles, CA 90071
                                             Telephone: (213) 234-1750
                                         5   Facsimile: (213) 234-1747
                                         6   Attorneys for Defendant
                                             IMO INDUSTRIES INC.
                                         7

                                         8
                                                                   UNITED STATES DISTRICT COURT
                                         9
                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                        10
Leader Berkon Colao & Silverstein LLP




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                                             PATRICK W. DENNIS and ROSA             Case No. CV 19-9343-GW-KSx
                                        12   DENNIS,
                                                                                    JUDGMENT GRANTING DEFENDANT
                                        13                                          IMO INDUSTRIES INC.’S MOTION FOR
          Attorneys at Law




                                                         Plaintiffs,                SUMMARY JUDGMENT, OR IN THE
                                        14                                          ALTERNATIVE, SUMMARY
                                                   vs.                              ADJUDICATION
                                        15

                                        16   AIR & LIQUID SYSTEMS                   Date: March 21, 2021
                                             CORPORATION, et al.,                   Time: 8:30 a.m.
                                        17
                                                                                    Courtroom: 9D
                                        18               Defendants.
                                                                                    Complaint Filed: October 31, 2019
                                        19
                                                                                    FAC Filed November 18, 2019
                                        20                                          Trial Date: TBD
                                        21

                                        22   TO ALL PARTIES HEREIN AND TO THEIR COUNSEL OF RECORD:
                                        23         The Motion for Summary Judgment and Summary Adjudication by
                                        24   defendant IMO INDUSTRIES INC., came on regularly for hearing on multiple
                                        25   sessions from September 10, 2020 to Thursday, March 18, 2021, in Courtroom 9D
                                        26   of the above-captioned Court. Plaintiffs and defendant IMO INDUSTRIES INC.
                                        27   appeared by their counsel of record.
                                        28
                                             ______________________________________________________________________________
                                                [PROPOSED JUDGMENT] GRANTING DEFENDANT IMO INDUSTRIES INC.’S MOTION FOR
                                                                         SUMMARY JUDGMENT
                                        Case 2:19-cv-09343-GW-KS Document 323 Filed 05/03/21 Page 2 of 2 Page ID #:13450



                                           1         After full consideration of the evidence, the Separate Statement of Defendant
                                           2   IMO INDUSTRIES INC. (“IMO”), all documents filed in connection with this
                                           3   Motion and the entire file herein, the Court finds that Defendant IMO
                                           4   INDUSTRIES INC. did not have a duty to warn the plaintiff concerning the use of
                                           5   asbestos parts with its equipment, and is entitled to summary judgment as to all
                                           6   claims against it.
                                           7         IT IS THEREFORE ORDERED that the said Motion for Summary Judgment
                                           8   is GRANTED, and that judgment shall be entered forthwith in favor of Defendant
                                           9   IMO INDUSTRIES INC. against plaintiffs. The Court further ORDERS that
                                          10   Plaintiff’s complaint in this matter is dismissed against Defendant IMO
Leader Berkon Colao & Silverstein LLP




                                          11   INDUSTRIES INC.
                                          12
          Attorneys at Law




                                          13
                                               DATED: May 3, 2021
                                          14                                   ________________________________
                                                                               HONORABLE GEORGE H. WU
                                          15
                                                                               United States District Judge
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                                                  [PROPOSED JUDGMENT] GRANTING DEFENDANT IMO INDUSTRIES INC.’S MOTION FOR
                                                                           SUMMARY JUDGMENT
